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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                               Plaintiff,              )
                               v.                      )      CAUSE NO.: 2:11-CR-170-RL-PRC
                                                       )
 BRANDON EARL,                                         )
                               Defendant.              )

           FINDINGS AND RECOMMENDATION OF THE MAGISTRATE JUDGE
              UPON A PLEA OF GUILTY BY DEFENDANT BRANDON EARL

 TO:    THE HONORABLE RUDY LOZANO,
        UNITED STATES DISTRICT COURT

        Upon Defendant Brandon Earl’s request to enter a plea of guilty pursuant to Rule 11 of the

 Federal Rules of Criminal Procedure, this matter came for hearing before Magistrate Judge Paul R.

 Cherry, on June 13, 2012, with the consent of Defendant Brandon Earl, counsel for Defendant Brandon

 Earl, and counsel for the United States of America.

        The hearing on Defendant Brandon Earl’s plea of guilty was in full compliance with Rule 11,

 Federal Rules of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by Defendant Brandon Earl under oath

 on the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

 of counsel for Defendant Brandon Earl,

        I FIND as follows:

        (1) that Defendant Brandon Earl understands the nature of the charge against him to which the

 plea is offered;

        (2) that Defendant Brandon Earl understands his right to trial by jury, to persist in his plea of

 not guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

 his right against compelled self-incrimination;
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        (3) that Defendant Brandon Earl understands what the maximum possible sentence is, including

 the effect of the supervised release term, and Defendant Brandon Earl understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by Defendant Brandon Earl has been knowingly and voluntarily made

 and is not the result of force or threats or of promises;

        (5) that Defendant Brandon Earl is competent to plead guilty;

        (6) that Defendant Brandon Earl understands that his answers may later be used against him in

 a prosecution for perjury or false statement;

        (7) that there is a factual basis for Defendant Brandon Earl’s plea; and further,

        I RECOMMEND that the Court accept Brandon Earl’s plea of guilty to the offense charged in

 Count 2 of the Indictment and that Defendant Brandon Earl be adjudged guilty of the offense charged

 in Count 2 of the Indictment and have sentence imposed. A Presentence Report has been ordered.

 Should this Report and Recommendation be accepted and Brandon Earl be adjudged guilty, a

 sentencing date before Senior Judge Rudy Lozano will be set by separate order. Objections to the

 Findings and Recommendation are waived unless filed and served within fourteen (14) days. 28 U.S.C.

 § 636(b)(1).

        So ORDERED this 13th day of June, 2012.

                                                        s/ Paul R. Cherry
                                                        MAGISTRATE JUDGE PAUL R. CHERRY
                                                        UNITED STATES DISTRICT COURT
 cc:    All counsel of record
        Honorable Rudy Lozano
